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          4.    That the children of the marriage, B.F., Date of Birth May 1, 2014 and M.F., Date

of Birth September 11, 2015, habitually resided with their mother, Petitioner P.F., in Bnei Brak,

Israel.

          5.    That the Respondent shall surrender Respondent’s passport to the Israeli authorities

upon landing in Israel;

          6.    That this court has subject matter jurisdiction over Petitioner’s claims pursuant

to 42 U.S.C.A. § 11603(a) of ICARA, which provides that the courts of the States and the United

States district courts shall have concurrent original jurisdiction over actions arising under the

Convention.

          7.    That the plaintiff have judgment against defendant in the liquidated amount of

$15,000.00 for attorneys fees dollars with interest at 4.08% from March 27, 2024 amounting to

$15,612.00 dollars plus costs and disbursements of this action in the amount of $2,000.00 dollars

amounting in all to $17,612.00 dollars.

          8.    That      this   court    has    supplemental     subject    matter     jurisdiction

over Petitioner’s UCCJEA claim pursuant to 28 U.S.C.A. § 1367.

          9.    That the name of the children shall be entered into the National Crime Information

Center (NCIC) computer database in the missing persons section; and

          10.   That if the Respondent violates this Order, the Respondent shall surrender himself

to the United States Marshall’s Office for contempt of this Court’s Order; and

          11.   That service of this Order shall be made electronically to the Respondent and such

service shall be deemed proper under the Federal Rules.

          12.   That the Petitioner may appear virtually for any court appearances necessary as

Petitioner lives in Israel.
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and it is further

                    ORDERED, ADJUDGED AND DECREED That the Respondent Y.F. is in

  default;

                    ORDERED, ADJUDGED AND DECREED That pursuant to the Hague

  Convention on the Civil Aspects of International Child Abduction (the “Hague Convention” or

  the “Convention”) and the implementing legislation within the United States, including the

  International Child Abduction Remedies Act (“ICARA”), 22 U.S.C.A. §§ 9001 et seq., and New

  York's Uniform Child Custody Jurisdiction and Enforcement Act (“UCCJEA”), DRL §§

  75(d), 77 et seq., the Defendant Y.F. shall within one week of this Judgment return the children

  of the marriage B.F., Date of Birth May 1, 2014 and M.F., Date of Birth September 11, 2015 to

  the country of Israel;

                    ORDERED, ADJUDGED AND DECREED that the Respondent, Y.F.

  wrongfully removed the children of the marriage, B.F., Date of Birth May 1, 2014 and M.F.,

  Date of Birth September 11, 2015, in New York in violation of the Convention, B.F.;

                    ORDERED, ADJUDGED AND DECREED that the children of the marriage,

  B.F., Date of Birth May 1, 2014 and M.F., Date of Birth September 11, 2015, habitually resided

  with their mother, Petitioner P.F., in Bnei Brak, Israel.

                    ORDERED, ADJUDGED AND DECREED that the Respondent shall surrender

  Respondent’s passport to the Israeli authorities upon landing in Israel;

                    ORDERED, ADJUDGED AND DECREED That this court has subject matter

  jurisdiction over Petitioner’s claims pursuant to 42 U.S.C.A. § 11603(a) of ICARA, which

  provides that the courts of the States and the United States district courts shall have concurrent

  original jurisdiction over actions arising under the Convention.
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                ORDERED, ADJUDGED AND DECREED that service of this Order shall be

made electronically to the Respondent and such service shall be deemed proper under the Federal

Rules.

 DATED:

 White Plains, New York

 ISSUED:




                                                    United States District Judge
